          Case 1:13-vv-00858-UNJ Document 30 Filed 01/16/15 Page 1 of 2




    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 13-858V
                                    Filed: December 17, 2014

* * * * * * * * * * * * * * * *                               UNPUBLISHED
DOUGLAS ANDOR,                *
                              *                               Special Master Hamilton-Fieldman
          Petitioner,         *
                              *                               Decision on Attorneys’ Fees and
v.                            *                               Costs; Reasonable Amount
                              *                               Requested to Which Respondent
SECRETARY OF HEALTH           *                               Does Not Object.
AND HUMAN SERVICES,           *
                              *
          Respondent.         *
* * * * * * * * * * * * * * * *

Edward M. Kraus, Law Offices of Chicago-Kent, Chicago, IL, for Petitioner.
Darryl Wishard, United States Department of Justice, Washington, D.C., for Respondent.

                                            DECISION 1

        On October 31, 2013, Douglas Andor (“Petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program. 2 42 U.S.C. §§ 300aa-1 et seq. (2006).
Petitioner alleged that he suffered from ulcerative colitis, spondylitis, and elevated liver
enzymes, and that these injuries had been caused by the influenza (“flu”) vaccine he received on
October 31, 2010 and the Hepatitis A and Tetanus-Diptheria-Pertussis (“Tdap”) vaccines he
received on November 5, 2010. Petition at 1. On November 21, 2014, the undersigned issued a

1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


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         Case 1:13-vv-00858-UNJ Document 30 Filed 01/16/15 Page 2 of 2



decision dismissing the case.

        On December 17, 2014, the parties filed a Stipulation of Facts Concerning Final
Attorneys’ Fees and Costs. The parties have agreed to an award of $12,350.33 for attorneys’
fees and costs. In accordance with General Order Number 9, Petitioner’s counsel represents that
Petitioner has not personally incurred any expenses in pursuit of his claim.

        The undersigned finds that this petition was brought in good faith and that there existed a
reasonable basis for the claim. Therefore, an award for fees and costs is appropriate, pursuant to
42 U.S.C. § 300aa-15(b) and (e)(1). Further, the proposed amount seems reasonable and
appropriate. Accordingly, the undersigned hereby awards the amount of $12,350.33, in the
form of a check made payable jointly to Petitioner and Petitioner’s counsel, Edward Kraus,
of the Law Offices of Chicago-Kent College of Law.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation. 3

       IT IS SO ORDERED.

                                             s/ Lisa Hamilton-Fieldman
                                             Lisa Hamilton-Fieldman
                                             Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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